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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

SHURE INCORPORATED, et al.,

                       Plaintiffs,

                V.                                   Civil Action No. 19-1343-RGA-CJB

CLEARONE, INC.,

                       Defendant.



              ~                             ORDER

       This   '12--'day of October 2021, upon consideration of the Magistrate Judge's Report and
Recommendations dated September 23 , 2021 , and no objections to the Report and

Recommendations having been received, and the Court having reviewed the matter, IT IS

HEREBY ORDERED:

       1. The Report and Recommendations (D.I. 555) is ADOPTED.

       2. Defendant's motion for summary judgment (D.I. 449) is DISMISSED AS MOOT.
